    Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.16 Page 1 of 38



                             STATE OF MICHIGAN
              IN THE CIRCUIT COURT FOR THE COUNTY OF INGHAM
                              BUSINESS DOCKET


AYERS BASEMENT SYSTEMS, LLC,

        Plaintiff,

v                                                 Case No. 18-        -CK
                                                  Hon.
STAY DRY BASEMENT WATERPROOFING
INC., DAVID KUZAVA and TALAL BADRA,

        Defendants.
                                              /

Michael F. Matheson (P52997)
Matheson Law Firm
Attorneys for Plaintiff
200 Woodland Pass, Suite F
East Lansing, MI 48823
(517) 993-6699
                                          /

                             VERIFIED COMPLAINT

       A civil action between Ayers Basement Systems, LLC and Stay Dry Basement
       Waterproofing Inc. was previously filed in Ayers Basement Systems v Stay
       Dry Basement Waterproofing Inc., et al, Ingham County Circuit Court, Case
       No. 12-953-CK, which was dismissed pursuant to the terms of a Settlement
       and Mutual Release Agreement between the parties. The breach of that
       Settlement Agreement by Stay Dry Basement Waterproofing Inc. forms the
       basis, in part, for the current lawsuit.

       Plaintiff, Ayers Basement Systems, LLC ("Ayers Basement"), by and through its

attorneys, Matheson Law Firm, states the following for its Verified Complaint against

Defendants, Stay Dry Basement Waterproofing Inc. ("Stay Dry"), David Kuzava
   Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.17 Page 2 of 38



("Kuzava") and Talal Badra ("Badra," and collectively with Stay Dry and Kuzava,

"Defendants"):

                      PARTIES, JURISDICTION AND VENUE


       1.     This Complaint is verified, pursuant to MCR 3.310, by the supporting
Affidavit of Virgil Ayers.
       2.     Ayers Basement is a Michigan limited liability company located in Eaton
County and doing business in Ingham County, Michigan.

       3.     Stay Dry is a Michigan corporation located in and doing business in Ingham
County.

       4.     Kuzava is an individual residing in Barry County and regularly doing
business in Ingham County.

       5.     Badra is an individual residing in and regularly doing business in Ingham

County.
       6.     Venue is proper in this Court pursuant to MCL 600.1621 and MCL
600.1627. The wrongful actions alleged herein occurred in Ingham County, and
Defendants regularly do business in Ingham County.

       7.     Jurisdiction is proper in this Court because the amount in controversy
exceeds $25,000.00 and Ayers Basement seeks equitable relief.

                             GENERAL ALLEGATIONS

       8.     Ayers Basement re-alleges and incorporates by reference the allegations
contained in all preceding and subsequent paragraphs as if fully set forth herein.

       9.     Ayers Basement is in the highly competitive business of installing and
servicing basement waterproofing systems and sump pumps, performing crawlspace and

foundation repairs, and mold control.
       10.    On November 22, 2013, Ayers and Stay Dry, as well as former employees of
Ayers Basement, entered into a Settlement and Mutual Release Agreement ("Settlement
                                            2
   Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.18 Page 3 of 38



Agreement") in Ayers Basement Systems v Stay Dry Basement Waterproofing Inc., et al
(Ingham County Circuit Court, Case No. 12-953-CK). See, Exhibit 1, Affidavit of Virgil

Ayers, Tab A.
      ii.       The Settlement Agreement related to litigation between Ayers Basement
and Stay Dry regarding Stay Dry's interference with other non-compete agreements Ayers

Basement had with its employees.

      12.       In relevant part, the Settlement Agreement states as follows:

                Neither Stay Dry nor Ayers shall employ, or solicit to employ, any
                current or former employee of Ayers or Stay Dry who is subject to a
                non-competition agreement with either Ayers or Stay Dry.

                Id., Paragraph 1.a

      13.       On September 22,     2014,   Badra signed a Confidentiality, Non-Solicitation,
and Non-Compete Agreement ("Badra Non-Compete").
      14.       The Badra Non-Compete provided, among other matters, that Badra would

refrain from becoming employed with a competitor of Ayers Basement during the three
years following the termination of his employment from Ayers Basement. Exhibit 1,

Affidavit of Virgil Ayers, Tab B, Badra Non-Compete.

      15.       On February 17, 2016, Kuzava signed a Confidentiality, Non-Solicitation,
and Non-Compete Agreement ("Kuzava Non-Compete," and collectively with the Badra
Non-Compete, the "Non-Compete Agreements").
      16.       The Kuzava Non-Compete provided, among other matters, that Kuzava
would refrain from becoming employed with a competitor of Ayers Basement during the
three years following the termination of his employment from Ayers Basement. Exhibit 1,
Affidavit of Virgil Ayers, Tab C, Kuzava Non-Compete.

      17.       Badra and Kuzava were employed as System Design Specialists — Sales.




                                                 3
  Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.19 Page 4 of 38



      18.    During their employment with Ayers Basement, Badra and Kuzava received
confidential information and access to the trade secrets of Ayers Basement.

      19.    Badra severed his employment with Ayers Basement on March 3, 2017.
      20.    Kuzava severed his employment with Ayers Basement on March 4, 2017.
      21.    Upon information and belief, Badra and Kuzava are now both employed at

Stay Dry and are violating their Non-Compete Agreements.
      22.    Badra has also recently contacted a former employee of Ayers Basement for
the purpose of soliciting that person for employment at Stay Dry, even though that person
is governed by a non-compete agreement with Ayers Basement.

      23.    In order to perform the duties involved with their employment, Badra and
Kuzava also received extensive training in the proprietary and confidential processes,

systems and techniques Ayers Basement uses in the course of its business. This training
was conducted at significant time and expense to Ayers Basement.
      24.    Badra and Kuzava were also granted access to Ayers Basement's
confidential information, including trade secrets, customer lists, marketing procedures,
office procedures, billing procedures, product plans, financial statements and other
information regarding customer and potential customer relationships ("Confidential
Information").
      25.    The Confidential Information is not to be disclosed to others, pursuant to

the Non-Compete Agreements.
      26.    Stay Dry is a direct competitor of Ayers Basement, as it provides services

and materials for the installation of basement waterproofing systems, and crawlspace and

foundation repair in the same geographic area as Ayers Basement.
      27.    As a result of Stay Dry's breach of the Settlement Agreement in hiring Badra
and Kuzava, as well as Badra and Kuzava's breaches of the Non-Compete Agreements,

Ayers Basement has been harmed and will continue to be harmed.


                                           4
   Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.20 Page 5 of 38



       28.    Furthermore, Ayers Basement's Confidential Information has been
compromised by its disclosure to a direct competitor of Ayers Basement and is otherwise
being used in direct competition against Ayers Basement, which is also a breach of the

Non-Compete Agreements.

       29.    Through the employment of Badra and Kuzava, Stay Dry is benefiting by
obtaining Ayers Basement's Confidential Information, and the specialized training
provided to the former employees of Ayers Basement.

             COUNT I — BREACH OF SETTLEMENT AGREEMENT
                          (Defendant Stay Dry)

      3o.    Ayers Basement re-alleges and incorporates by reference the allegations
contained in all preceding and subsequent paragraphs as if fully set forth herein.
      31.     The Settlement Agreement between Stay Dry and Ayers Basement is a valid
and enforceable agreement.

      32.     Stay Dry has breached the Settlement Agreement by hiring former
employees of Ayers Basement who are subject to non-compete agreements with Ayers
Basement.
      33.    As a direct and proximate result of Stay Dry's breach of the Settlement
Agreement, Ayers Basement has suffered damages that were reasonably foreseeable by
Stay Dry, including loss of customers, substantial loss of business profits and harm to its
goodwill.
      34.     The Settlement Agreement further provides:

             This Agreement may be enforced separately from the Lawsuit. In the
             event of any litigation arising from or related to this Agreement the
             prevailing party shall be entitled to recover from the non-prevailing
             party all reasonable actual attorney fees incurred in the prosecution
             or defense of the matter. Whether a party is a "prevailing party" shall
             be determined in accordance with Michigan law.

              Exhibit 1, Affidavit of Virgil Ayers, Tab A, paragraph 5

                                             5
  Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.21 Page 6 of 38




      WHEREFORE, Ayers Basement requests that this Court enter judgment in Ayers
Basement's favor and against Stay Dry by enjoining Stay Dry's violations of the Settlement
Agreement and awarding Ayers Basement an amount in excess of $25,000.00, plus
interest, costs, reasonable actual attorneys' fees and any other relief the Court deems

equitable and just.

            COUNT II — BREACH OF NON-COMPETE AGREEMENT
                           (Defendant Badra)

      35.    Ayers Basement re-alleges and incorporates by reference the allegations
contained in all preceding and subsequent paragraphs as if fully set forth herein.
      36.    The Badra Non-Compete is a valid and enforceable agreement.

      37.     Badra has breached the Badra Non-Compete by undertaking employment
with Stay Dry, soliciting former employees of Ayers Basement to breach their non-

compete agreements with Ayers Basement, disclosing Confidential Information to Stay
Dry and otherwise misusing the Confidential Information.
      38.     In relevant part, the Badra Non-Compete states as follows:

             The Parties agree that monetary damages resulting from a breach of
             this Agreement by Employee are difficult, if not impossible, to
             calculate with any certainty. As a result, the parties agree that the
             amount of $75,000.00 represents a fair and reasonable estimation
             of monetary damages Ayers will suffer as a result of Employee's
             breach of this Agreement, and Employee agrees to pay Ayers that
             amount as liquidated damages, and not as a penalty, for Employee's
             breach of this Agreement. This liquidated damage provision is a
             good-faith attempt by the Parties to estimate the total damages
             incurred by Ayers as a result of Employee's breach of this Agreement.

              Exhibit 1, Affidavit of Virgil Ayers, Tab B, paragraph 5.b

      39.    The Badra Non-Compete also states:

             In the event of any breach of this Agreement by Employee, Ayers
             shall be entitled to receive from Employee payment of, or
                                             6
   Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.22 Page 7 of 38



              reimbursement for, its reasonable attorney's fees, costs, and
              expenses incurred in enforcing this Agreement, in addition to any
              other remedies available at law or in equity.

              Id., paragraph 5.c

       40.    As a direct and proximate result of Badra's breaches of Badra Non-Compete
Agreement, Ayers Basement has suffered damages that were reasonably foreseeable by
Badra, including loss of customers, substantial loss of business profits and harm to its
goodwill.
       41.    During the course of his employment with Ayers Basement, Badra was also
paid a salary and commissions on projects he sold.
       42.    Badra was overpaid commissions during his employment with Ayers
Basement and, despite repeated requests for reimbursement, Badra has failed to return
the overpaid commissions.
      WHEREFORE, Ayers Basement requests that this Court enter judgment in Ayers
Basement's favor and against Badra by enjoining Badra's violations of the Badra Non-
Compete, returning the Confidential Information to Ayers Basement and awarding Ayers
Basement an amount in excess of $25,000, plus interest, costs, reasonable actual
attorneys' fees and any other relief the Court deems equitable and just.

             COUNT III — BREACH OF NON-COMPETE AGREEMENT
                            (Defendant Kuzava)

      43.     Ayers Basement re-alleges and incorporates by reference the allegations
contained in all preceding and subsequent paragraphs as if fully set forth herein.

      44.     The Kuzava Non-Compete is a valid and enforceable agreement.
      45.     Kuzava has breached the Kuzava Non-Compete by undertaking
employment with Stay Dry, disclosing Confidential Information to Stay Dry and
otherwise misusing the Confidential Information.


                                            7
  Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.23 Page 8 of 38



       46.    In relevant part, the Kuzava Non-Compete states as follows:

              The Parties agree that monetary damages resulting from a breach of
             this Agreement by Employee are difficult, if not impossible, to
              calculate with any certainty. As a result, the parties agree that the
              amount of $75,000.00 represents a fair and reasonable estimation
              of monetary damages Ayers will suffer as a result of Employee's
              breach of this Agreement, and Employee agrees to pay Ayers that
              amount as liquidated damages, and not as a penalty, for Employee's
              breach of this Agreement. This liquidated damage provision is a
              good-faith attempt by the Parties to estimate the total damages
              incurred by Ayers as a result of Employee's breach of this Agreement.

              Exhibit 1, Affidavit of Virgil Ayers, Tab C, paragraph 5.b

       47.   The Kuzava Non-Compete also states:

             In the event of any breach of this Agreement by Employee, Ayers
             shall be entitled to receive from Employee payment of, or
             reimbursement for, its reasonable attorney's fees, costs, and
             expenses incurred in enforcing this Agreement, in addition to any
             other remedies available at law or in equity.

             Id., paragraph 5.c

       48.   As a direct and proximate result of Kuzava's breaches of Kuzava Non-
Compete Agreement, Ayers Basement has suffered damages that were reasonably
foreseeable by Kuzava, including loss of customers, substantial loss of business profits

and harm to its goodwill.
       49.    WHEREFORE, Ayers Basement requests that this Court enter judgment in

Ayers Basement's favor and against Kuzava by enjoining Kuzava's violations of the Kuzava
Non-Compete, returning the Confidential Information to Ayers Basement and awarding
Ayers Basement an amount in excess of $25,000.00, plus interest, costs, reasonable

actual attorneys' fees and any other relief the Court deems equitable and just.




                                             8
   Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.24 Page 9 of 38



                     COUNT IV — TORTIOUS INTERFERENCE
                       WITH CONTRACTUAL RELATIONS
                             (Defendant Stay Dry)

        50.    Ayers Basement re-alleges and incorporates by reference the allegations
contained in all preceding and subsequent paragraphs as if fully set forth herein.

        51.    Ayers Basement has a contractual relationship with its former employees,

including Badra and Kuzava, who agreed to abstain from competing with Ayers Basement
and from misusing Confidential Information.

        52.    Ayers Basement derives a future economic benefit from its contractual
relationship with its former employees.

        53.    Stay Dry was aware of the Non-Compete Agreements at the time Badra and
Kuzava were hired by Stay Dry.

        54.    Stay Dry intentionally and improperly induced Badra and Kuzava to breach

their Non-Compete Agreements.
        55.    As a result of Stay Dry's misconduct, Ayers Basement suffered damages
including loss of customers, substantial loss of business profits and harm to its goodwill.
        WHEREFORE, Ayers Basement requests that this Court enter judgment in Ayers
Basement's favor and against Stay Dry an amount in excess of $25,000.00, plus interest,
costs, reasonable actual attorneys' fees and any other relief the Court deems equitable and
just.

                     COUNT V — MISAPPROPRIATION OF
              TRADE SECRETS AND CONFIDENTIAL INFORMATION

        56.    Ayers Basement re-alleges and incorporates by reference the allegations
contained in all preceding and subsequent paragraphs as if fully set forth herein.
        57.    During their employment with Ayers Basement, Badra and Kuzava had

access to Confidential Information.



                                             9
  Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.25 Page 10 of 38



       58.    The Confidential Information gave Ayers Basement an opportunity to
obtain an advantage over competitors.
       59.    The Confidential Information is not known to Ayers Basement's
competitors or others outside Ayers Basement's own business.
       60.    Ayers Basement took reasonable steps to safeguard its Confidential
Information, which included entering into the Non-Compete Agreements.
       61.    Badra and Kuzava misappropriated Ayers Basement's Confidential
Information by disclosing it to third parties without Ayers Basement's consent and using
it for the benefit of a directly competing business.
       62.    Stay Dry misappropriated the Confidential Information by obtaining it from
Badra and Kuzava and using it for the benefit of its directly competing business.
       63.    Defendants have misappropriated and will continue misappropriating
Ayers Basement's Confidential Information to their benefit and to Ayers Basement's
detriment through Badra's and Kuzava's continued employment with Stay Dry.
       64.    As a result of Stay Dry's conduct, Ayers Basement suffered damages
including loss of customers, substantial loss of business profits and harm to its goodwill.
       WHEREFORE, Ayers Basement requests that this Court enter judgment in Ayers
Basement's favor and against Badra, Kuzava and Stay Dry by enjoining their
misappropriation of Confidential Information and awarding Ayers Basement an amount
in excess of $25,000.00, plus interest, costs, reasonable actual attorneys' fees, and any
other relief the Court deems equitable and just.

                          COUNT VI — CIVIL CONSPIRACY

       65.    Ayers Basement re-alleges and incorporates by reference the allegations
contained in all preceding and subsequent paragraphs as if fully set forth herein.
       66.    Defendants wrongfully conspired with one another with the intent to
illegally misappropriate Ayers Basement's Confidential Information.

                                             10
  Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.26 Page 11 of 38



       67.    Defendants conspired to use Ayers Basement's Confidential Information for

the benefit of Stay Dry, and contrary to the Badra and Kuzava Non-Compete Agreements.

       68.    The Defendants' misconduct resulted in the misappropriation of Ayers
Basement's Confidential Information.

       69.    Because of Defendants' conspiracy and their tortious acts, Ayers Basement

suffered damages including loss of customers, substantial loss of business profits, and

harm to its goodwill.
       70.    Defendants are jointly and severally liable to Ayers Basement for all of its
injuries and damages.

       WHEREFORE, Ayers Basement requests that this Court enter judgment in Ayers
Basement's favor and against Badra, Kuzava and Stay Dry, in an amount in excess of

$25,000.00, plus interest, costs, reasonable actual attorneys' fees and any other relief the
Court deems equitable and just.

                                                 Respectfully submitted,

Dated: August 3, 2018


                                                   is ael F. Matheson (P52997)
                                                 Matheson Law Firm
                                                 200 Woodland Pass, Suite F
                                                 East Lansing, MI 48823
                                                 (517) 993-6699
                                                 Attorneys for Ayers Basement Systems,
                                                 LLC




                                            11
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.27 Page 12 of 38




                   Exhibit
                     1
 Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.28 Page 13 of 38




                             STATE OF MICHIGAN
              IN THE CIRCUIT COURT FOR THE COUNTY OF INGHAM
                              BUSINESS DOCKET


 AYERS BASEMENT SYSTEMS, LLC,

        Plaintiff,

 v                                                    Case No. 18-            -CK
                                                      Hon.
 STAY DRY BASEMENT WATERPROOFING
 INC., DAVID KUZAVA and TALAL BADRA,

        Defendants.
                                                  /

 Michael F. Matheson (P52997)
 Matheson Law Firm
 Attorneys for Plaintiff
 200 Woodland Pass, Suite F
 East Lansing, MI 48823
 (517) 993-6699
                                              /

                           AFFIDAVIT OF VIRGIL AYERS

       Virgil Ayers, being first duly sworn, deposes and states as follows:

       1.     I am a Member of Ayers Basement Systems, LLC ("Ayers Basement"). I am

making this Affidavit based upon my own personal knowledge and I would be competent
to testify to the facts and matters contained herein if I were called and sworn as a witness.

       2.     Ayers Basement is engaged in the highly competitive business of basement,
crawlspace and foundation waterproofing and repair; servicing of basement
waterproofing systems; mold control; and sump pumps.

       3.     The products and systems of Ayers Basement are unique and have

advantages over our competitors doing the same or similar work.
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.29 Page 14 of 38




      4.     Ayers Basement keeps as confidential its customer lists, financial records,
technical processes and trade secrets.
      5.     Stay Dry Basement Waterproofing Inc. ("Stay Dry") is engaged in the same
business as Ayers Basement.

      6.     On November      22,   2013, Ayers Basement and Stay Dry, as well as former
employees of Ayers Basement, entered into a Settlement and Mutual Release Agreement
("Settlement Agreement") in Ayers Basement Systems v Stay Dry Basement

Waterproofing Inc., et al (Ingham County Circuit Court, Case No. 12-953-CK). See, Tab
A.

      7.     The Settlement Agreement related to litigation Ayers Basement was forced
to bring against Stay Dry for its interference with other non-compete agreements Ayers
Basement had with its employees.
      8.     In relevant part, the Settlement Agreement states as follows:

             Neither Stay Dry nor Ayers shall employ, or solicit to employ, any
             current or former employee of Ayers or Stay Dry who is subject to a
             non-competition agreement with either Ayers or Stay Dry.

             Tab A, Paragraph 1.a

      9.     On September     22,   2014, Ayers Basement entered into a Confidentiality,
Non-Solicitation, and Non-Compete Agreement with Talal Badra ("Badra Non-
Compete").
      10.    The Badra Non-Compete provided, among other matters, that Badra would
refrain from becoming employed with a competitor of Ayers Basement during the three

years following the termination of his employment from Ayers Basement. Exhibit B,
Badra Non-Compete.

      11.    On February 17, 2016, Kuzava signed a Confidentiality, Non-Solicitation,
and Non-Compete Agreement ("Kuzava Non-Compete").


                                              2
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.30 Page 15 of 38




      12.    The Kuzava Non-Compete provided, among other matters, that Kuzava
would refrain from becoming employed with a competitor of Ayers Basement during the
three years following the termination of his employment from Ayers Basement. Exhibit

C, Kuzava Non-Compete.
      13.    Badra and Kuzava were employed with Ayers Basement in the capacity of

Systems Design Specialists — Sales.
      14.    During their employment with Ayers Basement, Badra and Kuzava received
confidential information and access to the trade-secrets of Ayers Basement.
      15.    Badra severed his employment with Ayers Basement on March 3, 2017.
      16.    Kuzava severed his employment with Ayers Basement on March 4, 2017.
      17.    It is my understanding that both Talal Badra and David Kuzava are
employed at Stay Dry Basement Waterproofing Inc. ("Stay Dry") and are actively
soliciting Ayers Basement's customers, employees and/or suppliers, in violation of the
Settlement Agreement and Non-Compete Agreements.
      18.    I have also been advised that Talal Badra recently solicited one of our former
employees in an attempt to persuade that former employee to also violate the terms of his
non-compete agreement.
      19.    Badra and Kuzava are using the confidential information and trade secrets
of Ayers Basement for their benefit and that of Stay Dry.
      20.    The Defendants activities are and will continue to cause irreparable harm
to Ayers Basement due to the loss of, among other matters, (a) customers, (b) trade-
secrets, (c) customer goodwill and (d) business reputation.
      21.    I have read and reviewed the contents of the Complaint and request for a

Temporary Restraining Order and Motion to Show Cause and attest that the contents of
the documents are true to the best of my knowledge, information and belief.




                                            3
 Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.31 Page 16 of 38




FURTHER, Affiant sayeth naught.


                                                        s as Membe of Ayers
                                              Virgil A s,
                                              Basement Systems, LLC


Subscribed and sworn to before me
this 3rd day of August, 2018.



                     , Notary Public, State of Michigan
    1,647,- Co nty, Michigan
A gig in -661../ j71    Cou ty, ichizan
My Com-nission Expires: 1L, 20




                                          4
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.32 Page 17 of 38




                           Tab
                            A
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.33 Page 18 of 38




                 SETTLEMENT AND MUTUAL RELEASE AGREEMENT

        THIS SETTLEMENT AND MUTUAL RELEASE AGREEMENT ("Agreement")
 dated November .7.2- , 2013 is entered into between Ayers Basement Systems, LLC,
 ("Ayers") and Stay Dry Basement Waterproofing, Inc. ("Stay Dry") and James Whittum
 ("Whittum") and Shane Cunningham ("Cunningham") (collectively the "Parties").

                                            RECITALS

              1.    On August 30, 2012, Ayers filed a Complaint against Stay Dry,
 Whittum, and Cunningham in the Circuit Court for Ingham County, Michigan, captioned
 as: Ayers Basement Systems v Stay Dry Basement Waterproofing, Inc., et al, Case No.
 12-953-CK (the "Lawsuit").

             2.     In the Lawsuit, among other matters, Ayers asserted claims against
 Stay Dry for tortuous interference with Ayers' Employee Non-Compete Agreements
 ("Non-Competes") with Whittum and Cunningham. Ayers also made claims against
 Whittum and Cunningham for violation of their Non-Competes.

                  3.      A default was entered against Cunningham on February 26, 2013
for his failure to file an Answer or otherwise defend against the Lawsuit.

               4.     The Parties, while denying liability to each other, desire to avoid the
 cost and inconvenience of further litigating the Lawsuit, and seek to resolve this matter
 by entering this Agreement.

                                   TERMS AND CONDITIONS

        In consideration of the mutual agreements made herein, the Parties agree as
 follows:

        1.     Terms.

               a. Neither Stay Dry nor Ayers shall employ, or solicit to employ, any
                  current or former employee of Ayers or Stay Dry who is subject to a
                  non-competition agreement with either Ayers or Stay Dry. Stay Dry will
                  further refrain from employing Whittum or Cunningham for the duration
                  of their Non-Competes.

               b. Whittum and Cunningham acknowledge the validity of their Non-
                  Compete, and agree not to seek employment or be employed with
                  Stay Dry during the term of his Non-Compete.

               c. The Parties agree that a breach or threatened breach of paragraphs
                  1(a) and/or (b) shall allow the non-breaching party to pursue all
                  available legal or equitable remedies, including, but not limited to,

                                              1
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.34 Page 19 of 38




                requesting a temporary restraining order and permanent injunctive
                relief.

           d. Ayers shall dismiss the Lawsuit against Stay Dry, Whittum and
              Cunningham, with prejudice, and without costs to any party, in the form
              attached as Exhibit A.

      2.   Release. The Parties hereby expressly release and forever discharge
           each other and their successors, predecessors and assigns, from all
           claims and/or causes of action arising out of the Lawsuit, which each may
           have against the other, known or unknown, contingent or accrued. This
           Agreement is a compromise of disputed claims between the Parties and is
           made in good faith to settle the dispute and avoid all future disputes
           between the Parties arising from the facts giving rise to the Lawsuit. The
           Parties each agree not to commence, cause or permit to commence
           against the other Party to this Agreement any action or other proceeding
           based upon any claims here released.

      3.   No Admissions. It is hereby agreed and understood by the Parties that
           none of them admit any liability or wrongdoing, and that the consideration
           of this release is given to resolve the disputed claims.

      4.   Enforcement. This Agreement may be enforced separately from the
           Lawsuit. In the event of any litigation arising from or related to this
           Agreement the prevailing party shall be entitled to recover from the non-
           prevailing party all reasonable actual attorney fees incurred in the
           prosecution or defense of the matter. Whether a party is a "prevailing
           party" shall be determined in accordance with Michigan law.

      5.   Miscellaneous.

           a.    The Parties each represent and warrant to each other, that they
           possess full authority to execute this Agreement in the capacity and
           manner shown below.

           b.      This Agreement is the final and complete agreement of the Parties
           with regard to the Lawsuit. The Parties acknowledge and agree that no
           representations, promises, or agreements have been made to or relied
           upon by any of them or by any person acting for or on their behalf in
           connection with the subject matter of this Agreement which are not
           specifically set forth in this Agreement. All representations, promises,
           understandings and agreements made by any of the Parties to another,
           whether in writing or orally, are understood by the Parties to be
           superseded and merged in this Agreement, which Agreement may not be
           orally modified.


                                         2
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.35 Page 20 of 38




           c.     The Parties hereto acknowledge that negotiations leading up to this
           Agreement were entered into and that a settlement was achieved to
           compromise and settle disputed claims.          Neither the process of
           negotiating the settlement nor the act of executing this Agreement was
           intended to be (nor shall at any time be deemed to be) construed, or
           treated in any respect, as an admission of liability or the insufficiency of
           the legal va►idity of any claim or defense asserted (or which could have
           been asserted) by any of the Parties.

           d.     Any dispute arising under this Agreement relative to the
           enforcement or interpretation of any term of disagreement shall be
           determined in accordance with the laws of the State of Michigan. The
           Parties irrevocably stipulate to personal jurisdiction in the state courts of
           Michigan and to the convenience of the courts for Ingham County for
           resolution of disputes related to or pertaining to this Agreement or any
           facts related to it.

           e.     All Parties acknowledge that each of the Parties and, if applicable,
           their counsel, have participated in the drafting and preparation of this
           Agreement, and therefore, no part hereof shall be construed against any
           of the Parties based upon the identity of the person who is purported to be
           the drafter of the language utilized in this Agreement.

           f.     This Agreement shall be binding upon, and shall inure to the benefit
           of, the Parties hereto and their privies, successors or assigns, whether
           past or present.

           g.     The Parties shall take all further actions and execute and deliver
           any further documents and instruments as may be reasonably requested
           by the Parties to effectuate the provisions of this Agreement.

           h.     The Parties represent that they have carefully read this Agreement
           and have consulted with their respective attorneys. The Parties each
           affirmatively state that they understand the contents of this Agreement and
           sign this Agreement as their free act and deed.

           i.    This Agreement may be executed in counterparts and shall be
           deemed effective when executed on the date set forth opposite each of
           the Parties or their counsel's respective signature. Photocopies and/or
           facsimile copies of the signature pages to this Agreement shall have the
           same force and effect as original signatures.

                           [Signatures on following page]
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.36 Page 21 of 38




                                       AYERS BASEMENT SYSTEMS, LLC


Dated: November   , 2013

                                       By:

                                       Its:

                                       STAY DRY BASEMENT
                                       WATERPROOFING, INC.


Dated: November   , 2013

                                       By:

                                       It


Dated: November 4.2013



Dated: November   , 2013
                                       SHANE CSI NINGHAM




                                   4
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.37 Page 22 of 38




                                       AYERS BASEMENT SYSTEMS, LLC


Dated: November   , 2013

                                       By:

                                       Its:

                                       STAY DRY BASEMENT
                                       WATERPROOFING, INC.


Dated: November    2013

                                       By:

                                       Its:


Dated: November   , 2013
                                       JAMES WHITTUM


Dated: November   , 2013
                                       SHANE CUNNINGHAM




                                   4
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.38 Page 23 of 38




                                      AYERS BASEMENT SYSTEMS, LLC


Dated: November          , 2013

                                      By:

                                      Its:

                                      STAY DRY BASEMENT
                                      WATERPROOFING, INC.


Dated: November          , 2013

                                      By:

                                      Its:


Dated: November,, 2013
                                      JAMES WHITTUM


Dated: 'bek,   et‘VICA    2013
                                       #AtCfE VdNiqt GHAM




                                  4
 Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.39 Page 24 of 38




                                        AYERS BASEMENT SYSTEMS, LLC


Dated: November    2013

                                        By:    ti / /2 ', 2      A 7 e yt_S

                                        Its:   die'.1.4f   Ac---' i?

                                        STAY DRY BASEMENT
                                        WATERPROOFING, INC.


Dated: November   , 2013

                                        By:

                                        Its:


Dated: November   , 2013
                                        JAMES WHITTUM


Dated: November   , 2013
                                        SHANE CUNNINGHAM




                                    4
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.40 Page 25 of 38




                           Tab
                            B
 Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.41 Page 26 of 38




flyers BasemeiC,
Since 1981     )(1101,1.(ke,
8024tfftei & Crawl space Speckfists"
2505 S Waverly Hwy
Lansing, MI 48911
517-645-2013




   CONFIDENTIALITY, NON-SOLICITATION, AND NON-COMPETE AGREEMENT

         THIS AGREEMENT ("Agreement"), executed as of the last date written below
(the "Effective Date"), by and between Ayers Basement Systems, a Michigan limited
liability company with an    dress of 505 S Waverly Highway, Lansing, MI 48911
("Ayers"), and -rakti liji afit              ("Employee") (collectively with Ayers
the "Parties").

      Ayers is engaged in the business of basement, crawlspace and foundation
waterproofing and repair; servicing of basement waterproofing systems; mold control
and sump pumps ("Business"); and

      Ayers will employ Employee on an at-will basis for the purpose of performing
Business activities, whereby Employee is to be trained in or develop: certain trade
secrets, technological know-how and other intellectual property for Ayers, and will be
granted access to other certain confidential business information of Ayers; and

        Ayers is willing to employ Employee, provide specialized training relating to
Ayers' Business, and divulge confidential business information only on the conditions
that: (i) Ayers' confidential business information remains completely confidential in
nature, and (ii) Employee agrees to not compete with Ayers in accordance with the
terms set forth in this Agreement.

       NOW, THEREFORE, in consideration of the mutual promises of the parties
hereto, and other valuable consideration, the receipt of which is hereby acknowledged,
the parties hereto agree as follows:

    1. DEFINITIONS. For purposes of this Agreement, the following terms are
       specifically defined as follows:

             a. "Existing Client" means any individual, business, or any other entity for
                which Ayers has performed or has been retained to perform Business
                services during the term of this Agreement, or for six (6) months prior to
                the Effective Date.

             b. "Prospective Client" means any individual, business, or any other entity
                that Ayers has identified as a potential client for Business services, prior to
                or during the term of this Agreement, the identity of which Employee has
                learned.

                                               1
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.42 Page 27 of 38

       c. "Corilmential Information" means Ayers' k 0 business policies, finances,
          and business plans; (2) financial projections; (3) sales information; (4)
          software or marketing tools; (5) list(s) of vendors, Existing Clients or
          Prospective Clients; (6) account terms and pricing upon which products
          and services are obtained from vendors or sold to Existing or Prospective
          Clients; (7) employee names and other business contacts; and (8)
          techniques, methods, and strategies by which it develops, manufactures,
          markets, distributes, and/or sells any of the products or services of its
          Business.

 2. NON-COMPETITION COVENANT.

       a. Duty to Not Compete. Employee agrees not to establish, engage in, or in
          any manner become interested in, directly or indirectly, as an individual,
          employee, owner, partner, officer, director, agent, shareholder, investor,
          consultant, or otherwise, any business, trade, or operation engaged in any
          business activity that is similar to or competitive with the Business of Ayers,
          within the Michigan Counties of Allegan, Antrim, Barry, Benzie, Branch,
          Calhoun, Charlevoix, Clare, Clinton, Eaton, Grand Traverse, Gratiot,
          Hillsdale, Ingham, Ionia, Isabella, Jackson, Kalamazoo, Kalkaska, Kent,
          Lake, Leelanau, Manistee, Mason, Mecosta, Missaukee, Montcalm,
          Muskegon, Newaygo, Oceana, Osceola, Otsego, Ottawa, St. Joseph, Van
          Buren and Wexford, and any other county in which Ayers has performed
          Business activities, for a period of three (3) year from the date of termination
          of Employee's employment with Ayers ("Non-Competition Covenant").

      b. Impact on Other Covenants. The terms of this Non-Competition Covenant
         shall have no impact on Employee's duties provided in any other section of
         this Agreement. Further, if upon expiration of this Non-Competition
         Covenant, either by time or court order, Employee engages in a business
         activity, directly or indirectly, in competition with the Business of Ayers,
         Employee is still prohibited from utilizing any Confidential Information while
         engaging in such business activity.

       c. Notice to Subsequent Parties. Employee will inform any individual,
          business, or other entity engaged in any business activity that is similar to
          or competitive with the Business of Ayers that Employee seeks to become
          interested in, directly or indirectly, as an employee, owner, partner, officer,
          director, agent, shareholder, investor, consultant, or otherwise, of this
          Agreement at the earliest possible opportunity.

 3. NON-SOLICITATION COVENANT.

      a. Duty to Not Solicit. Employee agrees not to solicit, contact, or otherwise
         communicate with any Existing Client, Prospective Client, vendor, or
         employee of Ayers for the purpose of encouraging or inducing that person
         to conduct business with any individual or entity in competition with Ayers,
         on either his own behalf or on the behalf of others, for a period of three (3)
         years after termination of Employee's employment with Ayers.

                                          2
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.43 Page 28 of 38


 4. CONFIDENTIALITY COVENANT.

       a. Duty of Confidentiality. Employee agrees to retain in confidence and to
          not disclose to any individual, business, or other entity, directly or
          indirectly or by any means, all Confidential Information transmitted or
          disclosed to Employee by Ayers, Ayer& employees, agents,
          representatives, or other affiliated entities or individuals. Employee further
          agrees to not use Confidential Information for Employee's own benefit,
          and to not disclose Confidential Information to any third-party, unless
          othe►wise provided by law. This duty of confidentiality shall survive the
          termination of Employee's employment and termination of this Agreement.

       b. Other Information. If Employee inadvertently receives information related
          to Ayers or any affiliated companies that is not related to this Agreement
          but that a reasonable person would discern to be confidential to Ayers,
          Employee will hold the information confidential, notwithstanding anything
          to the contrary in this Agreement.

       c_ Notice. If Employee is required by law to disclose any Confidential
          Information, Employee shall provide written notice of the intended
          disclosure to Ayers within a sufficient time period to afford Ayers an
          opportunity to contest the making of any disclosure. In no event shall
          notice to Ayers be given less than seven (7) days before the making of
          any disclosure of Confidential Information by Employee.

       d. Return of Confidential Information. Employee agrees to return any
          Confidential Information in Employee's control or possession (without
          retaining any copies) to Ayers upon termination of Employee's
          employment, or upon the request of Ayers for any reason whatsoever. If
          Confidential Information is kept in a form and manner that does not permit
          its return to Ayers, then Employee agrees to take any necessary steps to
          secure that Confidential Information so that it cannot be accessed by any
          unauthorized individual or entity.

      e. Information Open to Public. The restrictions set forth in this Confidentiality
         Covenant shall not apply to Confidential Information that is shown by clear
         and convincing evidence was: (i) part of the public domain through no
         violation of this Agreement at the time of disclosure by Consultant; or (ii)
         already known or available to Consultant prior to the Disclosure Period.

 5. BREACH BY EMPLOYEE.

       a. Injunctive Relief. The Parties agree that because Ayers does not have an
          adequate remedy at law to protect its interests under this Agreement,
          Ayers is entitled to injunctive relief, in addition to any other remedies or
          relief that would be available in the event of breach of the provisions of
          this Agreement.


                                         3
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.44 Page 29 of 38


       b. Liquidated Damages. The Parties agree that monetary damages resulting
          from a breach of this Agreement by Employee are difficult, if not
          impossible, to calculate with any certainty. As a result, the parties agree
          that the amount of $75,000.00 represents a fair and reasonable estimation
          of monetary damages Ayers will suffer as a result of Employee's breach of
          this Agreement, and Employee agrees to pay Ayers that amount as
          liquidated damages, and not as a penalty, for Employee's breach of this
          Agreement. This liquidated damage provision is a good-faith attempt by
          the Parties to estimate the total damages incurred by Ayers as a result of
          Employee's breach of this Agreement.

       G.   Fees, Costs, and Expenses. In the event of any breach of this Agreement
            by Employee, Ayers shall be entitled to receive from Employee payment
            of, or reimbursement for, its reasonable attorney's fees, costs, and
            expenses incurred in enforcing this Agreement, in addition to any other
            remedies available at law or in equity.

 6. MISCELLANEOUS

       a. Reasonableness. The Parties agree that the provisions of this Agreement
          are reasonable and that Ayers would not employ Employee without the
          restrictive covenants contained in this Agreement.

       b. Ownership of Intellectual Property. Employee will not at any time during
          the term of this Agreement, furnish any ideas, inventions, improvements,
          or Confidential Information related to the Business of Ayers, to any entities
          other than Ayers. Employee also agrees that all ideas, inventions,
          improvements and Confidential Information developed during the term of
          the Agreement shall be the property of Ayers. Upon termination of the
          Agreement, whether by Employee or Ayers, all ideas, inventions,
          improvements and Confidential Information are and shall be the sole
          property of Ayers, free from any legal or equitable title of Employee. Upon
          the request of Ayers, all necessary documents for perfecting title shall be
          executed by Employee and delivered to Ayers.

       c. Non-Disparagement. The Parties agree that they will not speak of or
          otherwise characterize one another in a negative light with regard to
          Employee's relationship with Ayers, the Business of Ayers, or the terms of
          this Agreement, except that Ayers may provide information related to the
          Employee's employment with Ayers to any individual or entity that
          Employee is seeking employment with upon that prospective employer's
          request.

       d. Governing Law and Venue. The terms of this Agreement shall be
          construed in accordance with the laws of the State of Michigan. Any
          lawsuit related to this Agreement shall be brought in the Courts of Eaton
          County, Michigan.


                                         4
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.45 Page 30 of 38


      e. Successor Liability and Assignment. This Agreement shall bind and inure
         to the benefit of the heirs, executors, administrators, successors and
         assigns of the Parties. This Agreement shall not be assignable by
         Employee without the written consent of Ayers. Ayers, however, may
         assign its interest in this Agreement without the consent of Employee.

      f. Invalidity and Reformation. If any part of this Agreement is deemed
         unreasonable by a court of competent jurisdiction, that determination does
         not invalidate this Agreement or any other provision of this Agreement;
         rather, the court shall reduce the offending portion to the maximum
         restriction it deems reasonable under the circumstances ("Revised
         Portion"), and the Employee shall be bound thereby and liable for any
         damages incurred by Ayers on or after the Effective Date as if the Revised
         Portion was incorporated into this Agreement at the time of execution.

      g.   Waiver of Jury Trial. The Parties irrevocably waive, to the fullest extent
           permitted by law, any and all right to trial by jury in any legal proceeding
           arising out of or relating to this Agreement.

      h. Captions. Captions to paragraphs and sections of this Agreement have
         been included solely for the sake of convenient reference and are entirely
         without substantive effect.

      i. Counterparts. This Agreement may be executed in counterparts by the
         Parties and shall be the binding agreement of all of them upon execution
         by each of them of one or more copies hereof.

      J. Entire Agreement. This Agreement constitutes the entire agreement
         between the Parties pertaining to the subject matter of this Agreement,
         and supersedes all prior and contemporaneous agreements,
         understandings, negotiations and discussions of the Parties, whether oral
         or written, relating to the subject matter of this Agreement. The Parties
         represent that there are no other agreements between them in connection
         with the subject matter of this Agreement.

      k. Waivers and Amendment. No amendment, supplement, modification,
         waiver or termination of this Agreement shall be implied or be binding
         (including, without limitation, any alleged waiver based on a party's actual
         knowledge of any inaccuracy in any representation or warranty contained
         herein) unless in writing and signed by the party against whom such
         amendment, supplement, modification, waiver or termination is asserted.
         No forbearance to exercise any right or privilege under this Agreement
         shall be construed as a waiver of the protections, rights, or privileges
         afforded by this Agreement (whether or not similar), nor shall any single
         waiver of any provision of this Agreement constitute a continuing waiver,
         unless otherwise expressly provided in writing.



                                         5
 Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.46 Page 31 of 38



      The undersigned have executed this Agreement on the date and year set
opposite their signatures.


Date: Cf/V4 1+
                                  Employee


                                  AYERS BASEMENT SYSTEMS, LLC

Date:                             By:
                                  Its: Manager




                                    6
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.47 Page 32 of 38




                           Tab
                            C
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.48 Page 33 of 38




  0,11
Ayers Basement
Since 19 1
Basement tit Crawl Space Specialists'
2505 s Waverly Hwy
Lansing, MI 48911
517-645-2013



    CONFIDENTIALITY, NON-SOLICITATION, AND NON-COMPETE AGREEMENT

        THIS AGREEMENT ("Agreement"), executed as of the last date written below (the
"Effective Date"), by and between Ayers Basement Systems, a Michigan limited liability
compa iy with an address of 2505 S Waverly Highway, Lansing, MI 48911 ("Ayers"), and
                                  ("Employee") (collectively with Ayers the "Parties").

      Ayers is engaged in the business of basement, crawlspace and foundation
waterp -oofing and repair; servicing of basement waterproofing systems; mold control and
sump pumps ("Business"); and

      Ayers will employ Employee on an at-will basis for the purpose of performing
Business activities, whereby Employee is to be trained in or develop: certain trade
secrets, technological know-how and other intellectual property for Ayers, and will be
granted access to other certain confidential business information of Ayers; and

       Ayers is willing to employ Employee, provide specialized training relating to Ayers'
Business, and divulge confidential business information only on the conditions that: (i)
Ayers' confidential business information remains completely confidential in nature, and
(ii) Employee agrees to not compete with Ayers in accordance with the terms set forth in
this Ag -eement.

        \IOW, THEREFORE, in consideration of the mutual promises of the parties hereto,
and otter valuable consideration, the receipt of which is hereby acknowledged, the
parties hereto agree as follows:

    1. DEFINITIONS. For purposes of this Agreement, the following terms are
       specifically defined as follows:

             a. "Existing Client" means any individual, business, or any other entity for
                which Ayers has performed or has been retained to perform Business
                services during the term of this Agreement, or for six (6) months prior to the
                Effective Date.

             b. "Prospective Client" means any individual, business, or any other entity that
                Ayers has identified as a potential client for Business services, prior to or
                during the term of this Agreement, the identity of which Employee has
                learned.


                                               1
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.49 Page 34 of 38

        c. "Confident►.. information" means Ayers' (1) business policies, finances, and
           business plans; (2) financial projections; (3) sales information; (4) software
           or marketing tools; (5) list(s) of vendors, Existing Clients or Prospective
           Clients; (6) account terms and pricing upon which products and services
           are obtained from vendors or sold to Existing or Prospective Clients; (7)
           employee names and other business contacts; and (8) techniques,
           methods, and strategies by which it develops, manufactures, markets,
           distributes, and/or sells any of the products or services of its Business.

  2. NON-COMPETITION COVENANT.

        a. Duty to Not Compete. Employee agrees not to establish, engage in, or in any
           manner become interested in, directly or indirectly, as an individual,
           employee, owner, partner, officer, director, agent, shareholder, investor,
           consultant, or otherwise, any business, trade, or operation engaged in any
           business activity that is similar to or competitive with the Business of Ayers,
           within the Michigan Counties of Allegan, Antrim, Barry, Benzie, Branch,
           Calhoun, Charlevoix, Clare, Clinton, Eaton, Grand Traverse, Gratiot,
           Hillsdale, Ingham, Ionia, Isabella, Jackson, Kalamazoo, Kalkaska, Kent,
           Lake, Leelanau, Manistee, Mason, Mecosta, Missaukee, Montcalm,
           Muskegon, Newaygo, Oceana, Osceola, Otsego, Ottawa, St. Joseph, Van
           Buren and Wexford, and any other county in which Ayers has performed
           Business activities, including within the States of Indiana, Ohio, Wisconsin
           and Minnesota for a period of three (3) year from the date of termination of
           Employee's employment with Ayers ("Non-Competition Covenant").

        b. Impact on Other Covenants. The terms of this Non-Competition Covenant
           shall have no impact on Employee's duties provided in any other section of
           this Agreement. Further, if upon expiration of this Non-Competition Covenant,
           either by time or court order, Employee engages in a business activity, directly
           or indirectly, in competition with the Business of Ayers, Employee is still
           prohibited from utilizing any Confidentia► Information while engaging in such
           business activity.

        c. Notice to Subsequent Parties. Employee will inform any individual,
           business, or other entity engaged in any business activity that is similar to or
           competitive with the Business of Ayers that Employee seeks to become
           interested in, directly or indirectly, as an employee, owner, partner, officer,
           director, agent, shareholder, investor, consultant, or otherwise, of this
           Agreement at the earliest possible opportunity.

  3.   ON-SOLICITATION COVENANT.

        a. Duty to Not Solicit. Employee agrees not to solicit, contact, or otherwise
           communicate with any Existing Client, Prospective Client, vendor, or
           employee of Ayers for the purpose of encouraging or inducing that person
           to conduct business with any individual or entity in competition with Ayers,
           on either his own behalf or on the behalf of others, for a period of three (3)
           years after termination of Employee's employment with Ayers.


                                           2
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.50 Page 35 of 38


  4.   ONFIDENTIALITY COVENANT.

        a. Duty of Confidentiality. Employee agrees to retain in confidence and to not
           disclose to any individual, business, or other entity, directly or indirectly or
           by any means, all Confidential Information transmitted or disclosed to
           Employee by Ayers, Ayers' employees, agents, representatives, or other
           affiliated entities or individuals. Employee further agrees to not use
           Confidential Information for Employee's own benefit, and to not disclose
           Confidential Information to any third-party, unless otherwise provided by
           law. This duty of confidentiality shall survive the termination of Employee's
           employment and termination of this Agreement.

        b. Other Information. If Employee inadvertently receives information related
           to Ayers or any affiliated companies that is not related to this Agreement but
           that a reasonable person would discern to be confidential to Ayers,
           Employee will hold the information confidential, notwithstanding anything to
           the contrary in this Agreement.

        c. Notice. If Employee is required by law to disclose any Confidential
           Information, Employee shall provide written notice of the intended
           disclosure to Ayers within a sufficient time period to afford Ayers an
           opportunity to contest the making of any disclosure. In no event shall notice
           to Ayers be given less than seven (7) days before the making of any
           disclosure of Confidential Information by Employee.

        d. Return of Confidential Information. Employee agrees to return any
           Confidential Information in Employee's control or possession (without
           retaining any copies) to Ayers upon termination of Employee's employment.
           or upon the request of Ayers for any reason whatsoever. If Confidential
           Information is kept in a form and manner that does not permit its return to
           Ayers, then Employee agrees to take any necessary steps to secure that
           Confidential Information so that it cannot be accessed by any unauthorized
           individual or entity.

        e. Information Open to Public. The restrictions set forth in this Confidentiality
           Covenant shall not apply to Confidential information that is shown by clear
           and convincing evidence was: (i) part of the public domain through no
           violation of this Agreement at the time of disclosure by Consultant; or (ii)
           already known or available to Consultant prior to the Disclosure Period.

       REACH BY EMPLOYEE.

        a. Injunctive Relief. The Parties agree that because Ayers does not have an
           adequate remedy at law to protect its interests under this Agreement, Ayers
           is entitled to injunctive relief, in addition to any other remedies or relief that
           would be available in the event of breach of the provisions of this
           Agreement.



                                            3
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.51 Page 36 of 38

        b. Liquidated _ amages. The Parties agree that moli tary damages resulting
           from a breach of this Agreement by Employee are difficult, if not impossible,
           to calculate with any certainty. As a result, the parties agree that the amount
           of $75,000.00 represents a fair and reasonable estimation of monetary
           damages Ayers will suffer as a result of Employee's breach of this
           Agreement, and Employee agrees to pay Ayers that amount as liquidated
           damages, and not as a penalty, for Employee's breach of this Agreement.
           This liquidated damage provision is a good-faith attempt by the Parties to
           estimate the total damages incurred by Ayers as a result of Employee's
           breach of this Agreement.

        c. Fees, Costs, and Expenses. In the event of any breach of this Agreement
           by Employee, Ayers shall be entitled to receive from Employee payment of,
           or reimbursement for, its reasonable attorney's fees, costs, and expenses
           incurred in enforcing this Agreement, in addition to any other remedies
           available at law or in equity.

   6. VIISCELLANEOUS

        a. Reasonableness. The Parties agree that the provisions of this Agreement
           are reasonable and that Ayers would not employ Employee without the
           restrictive covenants contained in this Agreement.

        b. Ownership of Intellectual Property. Employee will not at any time during the
           term of this Agreement, furnish any ideas, inventions, improvements, or
           Confidential Information related to the Business of Ayers, to any entities
           other than Ayers. Employee also agrees that all ideas, inventions,
           improvements and Confidential Information developed during the term of
           the Agreement shall be the property of Ayers. Upon termination of the
           Agreement, whether by Employee or Ayers, all ideas, inventions,
           improvements and Confidential Information are and shall be the sole
           property of Ayers, free from any legal or equitable title of Employee, Upon
           the request of Ayers, all necessary documents for perfecting title shall be
           executed by Employee and delivered to Ayers.

        c. Non-Disparagement. The Parties agree that they will not speak of or
           otherwise characterize one another in a negative light with regard to
           Employee's relationship with Ayers, the Business of Ayers, or the terms of
           this Agreement, except that Ayers may provide information related to the
           Employee's employment with Ayers to any individual or entity that
           Employee is seeking employment with upon that prospective employer's
           request.

        d. Governing Law and Venue. The terms of this Agreement shall be construed
           in accordance with the laws of the State of Michigan. Any lawsuit related to
           this Agreement shall be brought in the Courts of Eaton County, Michigan.




                                          4
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.52 Page 37 of 38

        e. Successor ,ability and Assignment. This Agreertent shall bind and inure
           to the benefit of the heirs, executors, administrators, successors and
           assigns of the Parties. This Agreement shall not be assignable by
           Employee without the written consent of Ayers. Ayers, however, may
           assign its interest in this Agreement without the consent of Employee.

        f. Invalidity and Reformation. If any part of this Agreement is deemed
           unreasonable by a court of competent jurisdiction, that determination does
           not invalidate this Agreement or any other provision of this Agreement;
           rather, the court shall reduce the offending portion to the maximum
           restriction it deems reasonable under the circumstances ("Revised
           Portion"), and the Employee shall be bound thereby and liable for any
           damages incurred by Ayers on or after the Effective Date as if the Revised
           Portion was incorporated into this Agreement at the time of execution.

        g.   Waiver of Jury Trial. The Parties irrevocably waive, to the fullest extent
             permitted by law, any and all right to trial by jury in any legal proceeding
             arising out of or relating to this Agreement.

        h. Captions. Captions to paragraphs and sections of this Agreement have
           been included solely for the sake of convenient reference and are entirely
           without substantive effect.

             Counterparts. This Agreement may be executed in counterparts by the
             Parties and shall be the binding agreement of all of them upon execution by
             each of them of one or more copies hereof.

             Entire Agreement. This Agreement constitutes the entire agreement
             between the Parties pertaining to the subject matter of this Agreement, and
             supersedes all prior and contemporaneous agreements, understandings,
             negotiations and discussions of the Parties, whether oral or written, relating
             to the subject matter of this Agreement. The Parties represent that there are
             no other agreements between them in connection with the subject matter of
             this Agreement.

        k. Waivers and Amendment. No amendment, supplement, modification,
           waiver or termination of this Agreement shall be implied or be binding
           (including, without limitation, any alleged waiver based on a party's actual
           knowledge of any inaccuracy in any representation or warranty contained
           herein) unless in writing and signed by the party against whom such
           amendment, supplement, modification, waiver or termination is asserted.
           No forbearance to exercise any right or privilege under this Agreement shall
           be construed as a waiver of the protections, rights, or privileges afforded by
           this Agreement (whether or not similar), nor shall any single waiver of any
           provision of this Agreement constitute a continuing waiver, unless otherwise
           expressly provided in writing.




                                            5
Case 1:18-cv-00907-RJJ-RSK ECF No. 1-5 filed 08/13/18 PageID.53 Page 38 of 38


        The undersigned have executed this Agreement on the date and year set opposite
their signatures.


Date:            11,                    TI2J
                                       Employee



        e.7
          )

Date:
